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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

JILL DILLARD; JESSA SEEWALD;
JINGER VUOLO; and JOY DUGGAR                                              PLAINTIFFS

V.                            CASE NO. 5:17-CV-5089

CITY OF SPRINGDALE, ARKANSAS;
WASHINGTON COUNTY, ARKANSAS;
KATHY O'KELLEY, in her individual and
official capacities; ERNEST CATE, in his
individual and official capacities; RICK HOYT,
in his individual and official capacities;
STEVE ZEGA, in his official capacity;
and DOES 1-10, inclusive                                                DEFENDANTS

                             ORDER TO SHOW CAUSE

      Now before the Court is Separate Defendants Kathy O’Kelley, Ernest Cate, and

City of Springdale’s Motion for Order to Show Cause (Doc. 126). Defendants explain that

they served a subpoena duces tecum (Doc. 126-1) on non-party Chad Gallagher and his

business Legacy Consulting on June 3, 2021. Defendants received the green return-

receipt card indicating that service was successful. The subpoena directed Mr. Gallagher

to produce certain documents to Defendants by June 17, 2021. Mr. Gallagher failed to

respond to the subpoena. On June 25, 2021, Defendants mailed him a certified letter as

a follow-up to the subpoena. Again, he failed to respond. Defendants now ask the Court

to order Mr. Gallagher to either respond to the subpoena by mailing or emailing the

requested documents to Defendants’ counsel 1 or to explain to the Court his lack of

response. Given these facts, the Motion should be, and hereby is, GRANTED.



1  Although the subpoena does not explicitly advise Mr. Gallagher that he may comply by
mailing or emailing the requested documents, counsel confirms that mailing or emailing
is acceptable to Defendants and that Mr. Gallagher’s personal appearance at Defendants’


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       IT IS THEREFORE ORDERED that Chad Gallagher has until August 31, 2021, to

comply with Defendants’ subpoena and produce the requested documents or to file a

response explaining why he cannot or will not produce the documents. Failure to obey

the Court’s Order may result in the imposition of sanctions for contempt. See Fed. R. Civ.

P. 45(g).

       IT IS FURTHER ORDERED that Defendants’ counsel do the following: (1) mail a

copy of this Order, certified with return-receipt requested, to Mr. Gallagher at all known

mailing addresses; (2) assure that such mailing is completed within two business days of

the file-date of this Order; (3) email a copy of the Order to Mr. Gallagher if his email

address is known to counsel; and (4) file an affidavit of record that details counsel’s

compliance with this Order, along with a copy of the green card indicating Mr. Gallagher’s

receipt of the Order.

       IT IS SO ORDERED on this 20th day of August, 2021.



                                                /s/ Timothy L. Brooks
                                                TIMOTHY L. BROOKS
                                                UNITED STATES DISTRICT JUDGE




counsel’s law office is not required. Mr. Gallagher lives and/or works more than 100 miles
from counsel’s law office in Springdale. Federal Rule of Civil Procedure Rule 45(c)(2)
states that a subpoena may command production “at a place within 100 miles of where
the person resides, is employed, or regularly transacts business in person . . . .” At the
same time, Rule 45(d)(2)(A) states that a person who is commanded to produce
documents “need not appear in person at the place of production or inspection unless
also commanded to appear for a deposition, hearing, or trial.” The Court reasons that Mr.
Gallagher may comply with the subpoena even though he is physically located more than
100 miles from Springdale by mailing or emailing the documents.


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